 Case 4:22-cv-00343-Y Document 129 Filed 09/29/23   Page 1 of 2 PageID 2634


                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

ROBERT (BOB) ROSS                    §
                                     §
VS.                                  §   CIVIL ACTION NO. 4:22-CV-343-Y
                                     §
ASSOCIATION OF PROFESSIONAL          §
FLIGHT ATTENDANTS, ET AL.            §

                ORDER REGARDING MOTION TO QUASH AND FOR
      PROTECTIVE ORDER AND REFERRING MOTION TO MAGISTRATE JUDGE

       Before the Court is Plaintiff’s Motion to Quash Defendants’

Notice to Take Deposition and Motion for Temporary Protective Order

(doc. 121). After review, the Court concludes that the parties should

be given a final opportunity to resolve this discovery dispute without

Court intervention.

       In this regard, the parties are again directed to the per-curiam

opinion in Dondi Properties Corp. v. Commerce Savings & Loan Assoc.,

121 F.R.D. 284 (N.D. Tex. 1988). That opinion sets forth standards

of conduct for counsel (and pro se parties) to follow throughout

litigation. Particularly relevant here are the standards for conduct

during discovery.     "[Parties] should make reasonable efforts to

conduct all discovery by agreement." Id. at 293. The Court cautions

the parties that it does not take discovery disputes lightly, and,

if a final resolution by the Court is necessary, sanctions will be

imposed upon any party conducting or opposing discovery unreasonably,

in bad faith, or otherwise not in compliance with the rules or Dondi.

       Therefore, the parties shall confer and make a good-faith effort

to resolve this discovery dispute between themselves. If the parties
 Case 4:22-cv-00343-Y Document 129 Filed 09/29/23     Page 2 of 2 PageID 2635


are able to completely resolve this discovery dispute, Plaintiff shall

notify the Court in writing as soon as possible, but not later than

November 3, 2023, that the motion should be rendered moot.

      If the parties are able to resolve part, but not all of their

discovery dispute, Plaintiff must file an amended motion as to the

remaining disputed matters only no later than November 3.

      Should the parties be able to resolve none or only a part of

their discovery dispute, Defendants must respond to Plaintiff’s

initial or amended motion no later than November 30, 2023. Any reply

to Defendants’ response must be filed in accordance with Rule 7.1(f)

of the local civil rules of this Court.

      Furthermore, the Court concludes that Plaintiff’s motion and

any amended motions filed in accordance with this order should be

and are hereby REFERRED to United States Magistrate Judge Jeffrey

L. Cureton for determination.         See 28 U.S.C. § 636(b)(1)(A).          All

papers filed hereafter regarding this motion or any amendment thereto

shall include the following notation under the case-number: “(Relates

to Motion Referred to Magistrate Judge Cureton).”1

      SIGNED September 29, 2023.

                                           ____________________________
                                           TERRY R. MEANS
                                           UNITED STATES DISTRICT JUDGE




      1
        The judge’s copy of all documents related to this motion should be mailed
to the Honorable Jeffrey L. Cureton, Eldon B. Mahon United States Courthouse, 501
West 10th Street, Room 520, Fort Worth, Texas 76102.

                                       2
